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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

PENNSYLVANIA NATIONAL MUTUAL :
CASUALTY INSURANCE COMPANY,

Petitioner,
Case No.
VS.

EVEREST REINSURANCE COMPANY,
f/k/a Prudential Reinsurance Company

Respondent.

 

PENNSYLVANIA NATIONAL MUTUAL CASUALTY INSURANCE
COMPANY’S PETITION TO COMPEL ARBITRATION

Pennsylvania National Mutual Casualty Insurance Company (‘Penn
National”), by and through its attorneys, respectfully petition this Court, pursuant
to Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4, for an order and judgment
compelling Respondent Everest Reinsurance Company (“Everest”) to arbitrate a

dispute with Petitioner as provided in the parties’ written arbitration agreement.

PARTIES

1. Petitioner Penn National is a corporation organized under the laws of the
Commonwealth of Pennsylvania, with its principal place of business in Harrisburg,

Pennsylvania.

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2. Everest Reinsurance Company f/k/a Prudential Reinsurance Company
(“Everest”) is a company organized under the laws of the state of New Jersey, with

its principal place of business in New Jersey.
JURISDICTION AND VENUE

3. This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C.
§ 1332(a)(1) because the parties are citizens of different states and the amount in
controversy is in excess of $75,000, excluding interest and costs of court. Venue is
proper in this District under 28 U.S.C. § 1391(a) as a substantial part of the events
or omissions giving rise to this controversy occurred in this District. Venue is also
proper under 9 U.S.C. § 4, because the parties’ arbitration agreements require

arbitration to take place within this District.
FACTUAL BACKGROUND

4. Penn National entered into a series of Excess of Loss Reinsurance Contracts
for the years 1991 through 1996 with multiple layers in each year (“Treaties”).
Everest participated in the Treaties as follows:

1991-— Second, Third, and Fourth Layers of the Treaties;
1992— Second, Third, and Fourth Layers of the Treaties
1993— Second, Third, and Fourth Layers of the Treaties

1994— First, Second, Third, and Fourth Layers of the Treaties

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1995-— First, Second, Third, and Fourth Layers of the Treaties

1996-— First, Second, and Third, Layers of the Treaties.
See Letter dated May 16, 2018 from Richard P. Regan, Esq. to Stephen H. Martin
demanding arbitration (“Arbitration Demand”) being submitted under seal as
Exhibit A. (A true and correct copy of the Second Excess Treaty for 1991, a
representative sample of the Treaties, is being submitted under seal as Exhibit B.)

5. In each of the Treaties, the parties agreed to submit to arbitration any
dispute between the parties concerning the Treaties. The parties’ arbitration
agreement contained in the Treaties requires that each party appoint an arbitrator
and that the two arbitrators so appointed choose a third arbitrator or umpire.
Failing agreement on an umpire, the arbitration agreements prescribe a selection
process in which each arbitrator nominates three candidates, each arbitrator
declines two of the candidates nominated by the other arbitrator, and the umpire is
randomly selected from the two remaining candidates. (See e.g., Exhibit B at
{ 26.)

6. A dispute between the parties has arisen with respect to reinsurance
recoveries for certain losses that Penn National billed to Everest under the terms of
the Treaties.

7. Penn National demanded arbitration by letter dated May 16, 2018,

setting forth the basis for its demands and appointing its party arbitrator. See Ex.

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8. Everest responded by letter dated July 27, 2018, claiming Penn
National’s commencement of arbitration and designation of its party arbitrator
constituted “nullities” but nevertheless provisionally appointed its own arbitrator.

9, On that same day Everest wrote to the individuals that previously
constituted an arbitration panel that had decided a separate dispute between Penn
National and a different reinsurer under some (but not all) of the same treaties. In
the earlier dispute the panel issued a final award; however, prior to the
confirmation of that award the parties concluded their dispute by confidential
settlement. Everest was not a party to nor did it participate in this earlier
arbitration or confidential settlement. Subsequent to that confidential settlement,
Everest in its July 27 letter requested that the individuals of that prior panel
reconvene to preside over the dispute between Penn National and Everest.

10. Penn National has expressed its opposition to Everest’s attempt to
require that the present dispute be submitted to the former members of a now
defunct panel selected for a separate and now fully concluded arbitration.

11. Penn National’s arbitrator contacted Everest’s arbitrator, several times
over several months, in an effort to move forward with umpire selection as
required by the Treaties. (See Exhibit B at  26(C).)

12. On October 9, 2018 Everest’s arbitrator informed Penn National’s

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arbitrator that Everest would not participate in umpire selection because of its
effort to require the present dispute to be heard by the individuals of the disbanded
panel.

13.  Everest’s arbitrator has refused to engage in umpire selection as
required by the Arbitration agreement in the Treaties.

14. The terms of the Treaties, and specifically the parties’ written
agreement to arbitrate contained therein, are valid and should be enforced.

15. The claims underlying the dispute are arbitrable and there are no legal
constraints, statutes or policies that render the claims non-arbitrable.

16. Penn National is entitled to arbitrate its dispute under the terms of the

Treaties.

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PRAYER FOR RELIEF

Petitioners respectfully request that this Court issue an Order compelling

Respondent Everest Reinsurance Company to arbitrate the parties’ dispute.

Respectfully submitted,
Dated: November 12,2018 By:/s/ Robert W. Tomilson

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Verification

ous ra:ze, am authorized to make this verification on behalf of Petitioner
Pennsylvania National Mutual Casualty Insurance Company. Pursuant to 28 U.S.C.
§ 1746, I hereby declare under penalty of perjury under the laws of the United States
of America that the statements of fact in the foregoing Petition to Compel Arbitration
are true and correct.

 

 

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